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                     3
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                         Attorney for Plaintiffs
                     6

                     7                             UNITED STATES DISTRICT COURT

                     8                              FOR THE DISTRICT OF ALASKA
                     9
                         Diane L. Long and Balingo Lake
                    10
                         Individually, and as Parents of
                    11   their minor child, J.L.,

                    12          Plaintiffs,

                    13          vs.                                             Case no.
                                                                                           --------------------
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                    14   United States of America and
0                        LifeMed Alaska, LLC,
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QQ)C")
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                                               Defendants.
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<co:tr.:.~e                                                        Complaint
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cnQ)oQ),,
w s::~ ~ ~                      COME NOW plaintiffs and allege as follows:
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:s:C")              20                                           Jurisdiction
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                    21          1.      Plaintiffs        are    Alaskan       Natives     and   residents   of
                    22
                         Anchorage, Alaska, in the District of Alaska.
                    23
                                2.      Plaintiffs Diana Long [hereinafter "Long"] and Balingo
                    24
                         Lake [hereinafter "Lake"] are adults and the natural parents of
                    25
                         plaintiff J.L., a minor child.

                         Complaint
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                           1          3.      The      Hooper    Bay Subregional Clinic                 [hereinafter          "the

                           2   Clinic"]      is   a    health-care        facility       owned and operated by the
                           3                                                                     [ "YKHC II] ,     a        tribal
                               Yukon-Kuskokwim            Health          Corporation
                           4
                               organization whose medical malpractice is covered by the Federal
                           5
                               Tort Claims Act, 28 USC §1346, 2401, and 2671 et seq.
                           6
                                      4.      Steven       Bertrand        was      at     all      times        pertinent       a
                           7
                               physician's assistant acting within the scope of his employment
                           8
                               at the Clinic.
                           9

                          10
                                      5.      More than six months                ago,     the    claim giving rise to

                          11   this suit was presented to the appropriate federal agency within

                          12   the meaning of 28 USC§ 2675(a).

                          13          6.      Said agency has denied the claim, either by expressly

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                          14   rejecting it outright, or by failing to make a final disposition
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                               of it within six months, as contemplated by 28 USC§ 2675(a).
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:::CCI)~g: ... ~                      7.      Defendant LifeMed Alaska LLC                   [hereinafter "LifeMed"]
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0  Ill aj'O r-!,               is a limited liability company organized and existing under the
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we:-'=~~                       laws of the State of Alaska, and at least 50% owned by YKHC.
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og                                    8.      LifeMed owns and operates an air- and ground-ambulance
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....I                          service that transports patients throughout Alaska .
                          21

                          22          9.      At all times relevant hereto, Brian Anderson,                             RN, and

                          23   Steven      Heyano,      MICP     EMT-P,     and    other     employees,          were       either

                          24   employed      by       LifeMed,    and      acting        within     the     scope      of     that

                          25



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                                  1    employment,         or were agents           of LifeMed,        and acting within the

                                  2    scope of that agency.
                                  3            10.    This court has jurisdiction over the claims asserted
                                  4
                                       herein.
                                  5

                                  6                                       General Allegations

                                  7            11.    On    at    least   three       occasions     in March    and April     of

                                  8    2015,    Long presented her four-month old infant daughter,                        J. L.,
                                  9    to the Clinic in Hooper Bay for medical care and treatment of
                                 10
                                       what appeared to be a respiratory viral condition.
                                 11
                                               12.    During these visits,              J. L.    was placed under the care
                                 12
                                       and treatment of Steven Bertrand, a physician's assistant.
                                 13
                                               13.    By the time of her visit on April 29,                     2016,    J.L. 's
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0                                                                                                              her heart rate
C/)C"')                                signs and symptoms had worsened and intensified:
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   ·-c..,..                            was 180; respiratory rate was 52; her oxygen saturation was 99%;
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             10:::::             17    she had audible wheezing;                a     fever     of 100.5;   her appetite and
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                        0)       18    fluid-intake         had   decreased,          and;    she   had   retractions    in   the
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(.) .5 u -'= u:.                 19    upper-abdomen/stomach region while breathing.
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:;:C"')                          20.           14.    Despite J.L. 's worsening signs and symptoms,                     Bertrand
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                                       failed to properly and adequately diagnose, treat, and deal with
                                 22
                                       J.L. 's worsening status.
                                 23
                                               15.    For example,        he did not administer simple tests for
                                 24
                                       influenza or respiratory syncytial virus [''RSV"], a respiratory-
                                 25



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                            1   tract    infection that           can be       fatal   in infants    in not properly

                            2   treated, or send her into the hospital for aggressive treatment.
                            3
                                        16.    On   May    3,    2015,     Long    again    presented      J.L.    to   the
                            4
                                Clinic -- this time after hours, and in critical condition.
                            5
                                        17.    At that point, J.L. was septic, profoundly dehydrated;
                            6
                                febrile;      had    a    very    elevated       pulse;    an   elevated    respiratory
                            7
                                rate;     audible        wheezing;       low     oxygen    saturation;      intercostal
                            8
                                retractions; nasal flaring, and general nonresponsiveness.
                            9

                           10
                                        18.    In light of the gravity of J.L. 's condition,                      LifeMed

                           11   was summoned to evacuate her by air to a more complete health-

                           12   care    facility,        first    in Bethel,       and ultimately to the Alaska

                           13   Native Medical Center ["ANMC"] in Anchorage.

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                           14           19.    Prior      to    the   flight,     Bertrand      improperly placed an
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                                intraosseous line in J.L. 's left tibia.
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::x:cn~g:,...~                          20.    He   then       failed    to     detect    and   ensure   its      improper
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wr::.::~~                               21.    Registered nurse Brian Anderson,                 together with Steven
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og                              Heyano, MICP EMT-P, and others responded on LifeMed's behalf to
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...1                            provide medical care for J.L. while en route to Anchorage .
                           21

                           22           22.    During the flight, Anderson and Heyano both visualized

                           23   and noted clear signs of extravasation, such as intensifying and

                           24   deepening redness in the left leg.

                           25



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                        1           23.    Nevertheless,           they       still         administered            powerful

                        2   medicinal agents through the improperly placed needle and line,
                        3   resulting in extravasation -- a maloccurrence whereby fluids are
                        4
                            injected into surrounding tissues,                      rather than into the target
                        5
                            blood vessel itself.
                        6
                                    24.    Neither        practitioner       took     reasonable          and    sufficient
                        7
                            precautions to ensure the line's proper placement and patency.
                        8
                                    25.    Nor      did    they     inform     ANMC        receiving          personnel        in
                        9
                            Anchorage       about      their      in-flight        observations          of     redness     and
                       10

                       11   concerns about extravasation.

                       12           26.    The       resulting         extravasation         caused           swelling      and

                       13   ischemia       [obstructed          blood-flow],         which        in   turn     killed      the

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                       14   tissues       [necrosis]       in   J. L. 's   left      lower    extremity.            Although
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C/)C")
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wN                     15   ANMC's doctors attempted to treat J.L. 's ischemic and necrotic
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::r:~~ .... ~               lower left        leg,    their efforts failed;                ultimately,         the leg was
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C Ill CII"Q r-!,            amputated.           Respiratory       cultures        taken     at    ANMC       revealed     that
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wt:..c:~~                   J. L.   did have RSV and influenza,                    which had progressed to                  the
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og                          point of causing respiratory failure,                      sepsis          [blood-poisoning],
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..J                         and septic shock [sepsis accompanied by low blood-pressure] .
                       21

                       22           27.    ANMC      practitioners         also    determined          that     J. L.    had    a

                       23   left pneumothorax [collapsed lung], which they treated.

                       24           28.    The       above-described          sepsis,         as        well      as      other

                       25   physiological           responses     to    J. L. 's    viral     infection ( s) ,          damaged


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                              1   J.L. 's heart, likely necessitating ongoing treatments throughout

                              2   her lifetime, including ultimately a heart transplant.
                              3          2 9.    The acts,       errors,     and omissions          alleged herein have
                              4
                                  proximately caused injury and damage to J.L., including, but not
                              5
                                  necessarily limited to:
                              6
                                         a.      Physical pain and suffering, past and future;
                              7
                                         b.      Severe       and      permanent          physical      impairment         and
                              8
                                  disfigurement;
                              9
                                         c.      Emotional distress and psychological injury, past and
                             10

                             11   future;

                             12          d.      Inconvenience and loss of enjoyment of life, past and

                             13   future;

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                             14          e.     Medical-       and     treatment-related            expenses,        including
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                                  life-care expenses, past and future;
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w s:: .s::: g ~                   earning capacity, lost subsistence capability and earnings, and;
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og                                loss of career and business opportunities.
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..J                                      30.    As     a   proximate       result     of     the     acts,     errors,     and
                             21

                             22   omissions      alleged      herein,      Long     and    Lake     have     also     suffered

                             23   injuries and damages, including, but not limited to:

                             24          a.      Past medical- and treatment-related expenses;

                             25



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                                1          b.      Emotional distress and psychological injury, past and

                                2   future;
                                3          d.      Inconvenience and loss of enjoyment of life, past and
                                4
                                    future;
                                5
                                           d.      Loss of domestic and household services, and
                                6
                                           e.      Loss of child consortium.
                                7

                                8                     Cause of Action - Negligence/Recklessness
                                                             [On each plaintiffs' behalf
                                9                              against each defendant]
                               10
                                           31.     Plaintiffs        incorporate           each        of     the     allegations
                               11
                                    heretofore alleged.
                               12
                                           32.     Medical      care    providers          at   the     Clinic       and     LifeMed
                               13
                                    failed to       exercise that         degree      of    skill,      care,       and    knowledge
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C/'JC")                             ordinarily exercised and possessed under the                              circumstances by
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c,eC")
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w::Sit)~IO                     16   health care providers in their fields and specialties.
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c ~              r-!. ";"
> 'l: ::.:: ~ 1:::             17          33.     Said     lapses       and       breaches       of        skill,        care,   and
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0      C/1   !!! ..     0)     18   competence proximately caused the injuries and damages alleged
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3:C")                                      34.     Said     lapses      and        breaches     constitute           recklessness
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                               21
                                    within the contemplation of AS 09.55.549(f).
                               22
                                           35.     Defendants are liable to each of the plaintiffs for
                               23
                                    negligence, in an amount to be proved at trial.
                               24

                               25          WHEREFORE, plaintiffs pray for relief as follows:


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                    1          1.      For a judgment against defendants,                and in plaintiffs'

                    2   favor,      compensating       them    for      their   injuries   and   damages,    as
                    3
                        alleged;
                    4
                               2.      For     an    award      of      compensable     costs,   compensable
                    5
                        attorney's fees, and any applicable interest.
                    6
                               3.      For    any   other     relief      the   court   may   deem   just   and
                    7
                        proper.
                    8
                               DATED this 25th day of April, 2016, at Anchorage, Alaska.
                    9

                   10

                   11                                                  LAW OFFICES OF DAVID HENDERSON
                                                                       Attorney for the Plaintiff
                   12

                   13                                                  s/David Henderson
                                                                       David Henderson #9806014
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